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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
                              SACRAMENTO DIVISION

UNITED STATES OF AMERICA                  §

VS.                                       §         CAUSE NUMBER: 2:08-CR-00481(05)

BI XIA NI                                 §

                                    O RDER

       The Motion to Withdraw the Motion for Early Termination of Supervised Release,

is hereby GRANTED.

       IT IS ORDERED that Defendant’s Motion for Early Termination shall be withdrawn from

consideration and the hearing date scheduled in same shall be removed from the Court’s April 29,

2010 calendar.

 Dated: April 27, 2010

                                              ________________________________
                                              MORRISON C. ENGLAND, JR.
                                              UNITED STATES DISTRICT JUDGE
